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                                                                                 6 Counterdefendant VERRAGIO, LTD.
                                                                                 7
                                                                                 8                              UNITED STATES DISTRICT COURT
                                                                                 9                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                 10
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11 VERRAGIO, LTD                              )   Case No. 8:15-cv-0688 CJC (DFMx)
                                                                                                                               )
                                                                                 12                         Plaintiff,         )
                                                                                                                               )
                                                                                 13          v.                                )
TUCKER ELLIS LLP




                                                                                                                                   CONSENT JUDGMENT AND
                                                                                                                               )   PERMANENT INJUNCTION
                                                                                 14 KIEU HANH JEWELRY,                         )   AGAINST KIEU HANH JEWELRY
                                                                                                                               )
                                                                                 15                         Defendant.         )
                                                                                                                               )
                                                                                 16                                            )
                                                                                                                               )
                                                                                 17                                            )
                                                                                    KIEU HANH TRADING, INC., doing             )
                                                                                 18 business as KIEU HANH JEWELRY,             )
                                                                                                                               )
                                                                                 19                                            )
                                                                                                                               )
                                                                                 20               Counterclaimant,             )
                                                                                                                               )
                                                                                 21          v.                                )
                                                                                                                               )
                                                                                 22 VERRAGIO, LTD.,                            )
                                                                                                                               )
                                                                                 23               Counterdefendant.            )
                                                                                                                               )
                                                                                 24                                            )
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                                                                                  1          Plaintiff Verragio, Ltd. (“Verragio”), and Defendant Kieu Hanh Trading, Inc.,
                                                                                  2 doing business as Kieu Hanh Jewelry (“Kieu Hanh”), have entered into a confidential
                                                                                  3 settlement agreement to resolve this matter. As part of this agreement, Verragio and Kieu
                                                                                  4 Hanh agree to the entry of this Consent Judgment and Permanent Injunction against Kieu
                                                                                  5 Hanh.
                                                                                  6          Therefore, it is hereby ORDERED, ADJUDGED and DECREED as follows:
                                                                                  7          1.    This case is a civil action arising under the Copyright Act, 17 U.S.C. §§ 101,
                                                                                  8 et seq. This Court has jurisdiction over these claims under 17 U.S.C. § 501, and 28
                                                                                  9 U.S.C. §§ 1331 and 1338(a).
                                                                                 10          2.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and 1400(a).
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                                                                                 11          3.    Verragio is a New York corporation with its principal place of business at
                                                                                                       th
                                                                                 12 330 Fifth Avenue, 5 Floor, New York, NY 10001.
                                                                                 13          4.    Kieu Hanh has its principal place of business at 9131 Bolsa Avenue, Suite
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                                                                                 14 203, Westminster, California 92683.
                                                                                 15          5.    At all relevant times, Verragio complied in all respects with the Copyright
                                                                                 16 Acts, 17 U.S.C. § 101, et seq., and secured the exclusive rights and privileges in and to
                                                                                 17 the copyrights of Insignia-7003 (VAu 996-688), Insignia-7047 (VA 1-798-116), and
                                                                                 18 Venetian-5001R (VAu 1-049-916) (collectively the “Verragio Copyrights”). Copies of
                                                                                 19 the Certificates of Registration from the Register of Copyrights for the Verragio
                                                                                 20 Copyrights, as well as the deposit copies of the Verragio Copyrights, are attached to this
                                                                                 21 Consent Judgment as Exhibit A.
                                                                                 22          6.    The Verragio Copyrights are valid, strong and enforceable.
                                                                                 23          7.    Kieu Hanh and Kieu Hanh’s officers, directors, employees, representatives,
                                                                                 24 agents, successors-in-interest, parent corporations, subsidiary corporations, legal entities
                                                                                 25 or persons controlled by Kieu Hanh, and all other persons who are in active concert or
                                                                                 26 participation with them, are hereby permanently enjoined from:
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                                                                                  1                a.     Copying or making unauthorized use of, or engaging in any
                                                                                  2          unauthorized distribution of products protected by the Verragio Copyrights or rings
                                                                                  3          that are substantially similar to the Verragio Copyrights;
                                                                                  4                b.     Selling, distributing, advertising, manufacturing or purchasing from
                                                                                  5          Kim International Manufacturing L.P. (“Kim”) or from any other source any and
                                                                                  6          all variants within Kim Ring Style Nos. 115076, 115077, 115078, 115079, 115081,
                                                                                  7          115082, 115172, 115177, 115188, 115189, 116017, 117482, 117490, 117491,
                                                                                  8          117540, 117541, 117542, 117543, 117544, 117545, 117660, 117803, 117804,
                                                                                  9          117805, 118267, 118268, 118269, 118270 and 118271 (collectively, the “Kim
                                                                                 10          Rings”) or any rings substantially similar to the Kim Rings; and
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                                                                                 11                c.     Knowingly assisting, aiding or abetting any other person or business
                                                                                 12          entity in engaging in or performing any of the activities referred to in
                                                                                 13          subparagraphs 7(a) through 7(b) above.
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                                                                                 14          8.    Within thirty days of the date of this Order, Kieu Hanh shall destroy any of
                                                                                 15 the Kim Rings in its possession.
                                                                                 16          9.    The parties waive notice of entry of this Consent Judgment and Permanent
                                                                                 17 Injunction and the right to appeal therefrom or to test its validity and consent to its
                                                                                 18 immediate entry in accordance with its terms. This Court expressly retains jurisdiction
                                                                                 19 over this matter to enforce, implement or construe this Consent Judgment and Permanent
                                                                                 20 Injunction.
                                                                                 21
                                                                                             SO ORDERED.
                                                                                 22
                                                                                 23
                                                                                        DATED: __________________                       _____________________________
                                                                                 24                                                        United States District Judge
                                                                                 25
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                                                                                 1             The individuals executing this Consent Judgment and Permanent Injunction
                                                                                 2 represent or confirm that they are duly authorized to do so, and are similarly authorized to
                                                                                 3 bind their respective clients to this Consent Judgment and Permanent Injunction.
                                                                                 4
                                                                                 5             CONSENTED TO:
                                                                                 6
                                                                                 7
                                                                                                                                      Tucker Ellis LLP
                                                                                 8 DATED: April 15, 2016
                                                                                 9                                                    By:     /s/Howard A. Kroll
                                                                                 10                                                           Howard A Kroll
                                                                                                                                              Attorneys for Plaintiff and
                                                                                                                                              Counterdefendant VERRAGIO,
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11                                                           LTD.
                                                                                 12                                                   Rozsa Law Group LC
                                                                                       DATED: April 15, 2016
                                                                                 13
TUCKER ELLIS LLP




                                                                                 14                                                   By:     /s/Thomas I. Rozsa*
                                                                                                                                              Thomas I. Rozsa
                                                                                 15                                                           Attorneys for Defendant and
                                                                                                                                              Counterclaimant KIEU HANH
                                                                                 16                                                           TRADING, INC. doing business as
                                                                                                                                              KIEU HANH JEWELRY
                                                                                 17
                                                                                       *Pursuant to Local Rule 5-4.3.4(a)(2), the filing party attests that Defendant and
                                                                                 18
                                                                                       Countercomplainant’s counsel concurs in the content of this Consent Judgment and has
                                                                                 19
                                                                                       authorized its filing with his electronic signature.
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